      Case 2:16-cv-07642-ODW-JPR                Document 17         Filed 01/25/17   Page 1 of 3 Page ID
                                                      #:54



                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
Guillermo Robles,
                                                 Plaintiff(s)                  CV 16-7642-ODW(JPR)
                             v.
                                                                          NOTICE TO PARTIES:
Bubba Gump Shrimp Co. Restaurants, Inc.,
                                                                   ADA DISABILITY ACCESS LITIGATION
                                                Defendant(s)


                                           INSTRUCTIONS TO PLAINTIFF:

   In this action alleging violations of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§
12181-12189, Plaintiff is directed to serve three documents (the “ADA Packet”) on the Defendant(s): (1) this
Notice to Parties; (2) the attached Application for Stay and Early Mediation; and (3) the attached [Proposed]
Order Granting Application for Stay and Early Mediation.

    Plaintiff is directed to serve the ADA Packet on Defendant(s) at the same time the summons and complaint
are served, if possible. If, upon receipt of this Notice to Parties, Plaintiff has already served Defendant(s),
Plaintiff must serve the ADA Packet no later than fourteen (14) days after this Notice to Parties is filed with the
Court. Within three (3) days of serving Defendant(s), Plaintiff must file with the Court a proof of service
indicating that the ADA Packet was served on Defendant(s).

    Failure to comply with these directives may adversely affect Plaintiff’s claims. For instance, where
Defendant fails to answer the complaint, the Court will not enter default judgment unless Plaintiff has served
that Defendant with this Notice and the Application for Stay.

                 NOTICE TO DEFENDANT(S): YOU ARE BEING SUED PURSUANT TO THE ADA

    In this case, Plaintiff alleges that Defendant(s) failed to comply with detailed provisions of Title III of the
Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-12189. More specifically, the Complaint alleges
that Plaintiff encountered one or more physical or other barriers at a place of public accommodation operated
by Defendant(s) and/or the place of public accommodation does not otherwise comply with applicable ADA
Accessibility Guidelines (“ADAAG”). See generally 36 CFR Pt. 1191, apps. B & D.

    A plaintiff who encounters such barriers, or who is otherwise discriminated against “on the basis of
disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
accommodations of any place of public accommodation,” may file a private suit to enforce the provisions of
Title III. 42 U.S.C. § 12182(a). Monetary damages are not recoverable pursuant to the ADA, but injunctive
relief and attorney fees may be awarded. 42 U.S.C. §§ 12188(a)(1)-(2), 12205. Where a violation is found,
injunctive relief is likely to require Defendant(s) to remedy physical barriers or other items that fail to conform
with the requirements of the ADA. Additional information about the ADA, including downloadable
documents setting forth the current ADA Standards for Accessible Design, is available from the United States
Department of Justice. See http://www.ada.gov/2010ADAstandards_index.htm (last accessed on August 16,
2016).


ADR-20 (09/16)                    NOTICE TO PARTIES: ADA DISABILITY ACCESS LITIGATION                       Page 1 of 3
      Case 2:16-cv-07642-ODW-JPR  Document
                  ALTERNATIVE DISPUTE       17 Filed
                                      RESOLUTION     01/25/17
                                                  (“ADR”)      Page 2 of 3 Page ID
                                                          IS AVAILABLE
                                         #:55
     Despite the efforts to achieve a fair, timely, and just outcome in all Title III cases, litigation can be an
expensive and lengthy process. For this reason, it is this Court’s policy to encourage parties to attempt to settle
their disputes through alternative dispute resolution (“ADR”) at an early stage of litigation. ADR is likely to
significantly reduce the cost of litigation and the amount of time needed to resolve ADA claims. In the Court’s
experience, early ADR is particularly beneficial in disability access litigation because many physical barriers and
other failures to comply with ADAAG’s requirements can be quickly and economically remedied without
litigation. However, where easy fixes are not made promptly, and where resolution of disputes is sought
through litigation, the costs of litigation can rapidly overtake the costs of remedying the underlying violation(s).
The economically efficient and expeditious removal of barriers to access for persons with disabilities furthers
the primary public policy goals of the ADA.

     Therefore, to encourage early resolution of litigation, this Court allows a defendant to ask for a stay of
litigation so that the parties may participate in the Court’s ADR Program. A stay temporarily halts the
litigation and puts the litigation “on hold” to allow for mediation. The Court’s ADR Program offers mediation
through a panel of qualified and impartial attorney-mediators who encourage the fair, speedy, and economic
resolution of civil actions. All Panel Mediators have at least ten years of legal experience and are appointed by
the Court. They volunteer their preparation time and the first three hours of a mediation session. Involvement
by a Panel Mediator in an ADA access case is a cost-effective way for parties to explore potential avenues of
resolution and is similar to programs adopted in California’s Superior Courts to resolve similar claims.

                    LEGAL REPRESENTATION IS NOT REQUIRED FOR MEDIATION

    Ideally, all parties would be represented by counsel. Certainly, any party that chooses to proceed without
legal representation will be operating at a significant disadvantage. Although individuals may appear in an
action without legal representation, no organization or entity of any other kind (including corporations, limited
liability corporations, partnerships, limited liability partnerships, unincorporated associations, trusts) may
appear in any action or proceeding unless represented by an attorney permitted to practice before this Court.
L.R. 83-2.2.2. Nevertheless, in recognition that many parties do not obtain legal representation, the Court does
not require that any party hire an attorney to file the Application for Stay and Early Mediation or to participate
in the Court's ADR Program.

    If the action cannot be resolved through mediation, however, entity defendants (including
partnerships, corporations, trusts, and limited liability companies) may not file an answer to the complaint
or otherwise appear in the action without an attorney. L.R. 83-2.2.2.

                                             TO REQUEST A STAY

    To apply for a stay and participate in early mediation, the Defendant(s) must complete the attached
Application for Stay and Early Mediation. If a party wishes to file the Application for Stay and Early
Mediation, the Application must be filed with the Court and served on the opposing party no later than the due
date for an Answer to the Complaint or, alternatively, within fourteen (14) days of the date that the ADA
Packet was served, whichever date is later. Where Defendant(s) agree to waive service in a timely manner, the
Answer is due sixty (60) days after the request for waiver of service was sent. See Fed. R. Civ. P. 4(d) (waiver),
12(a)(1)(A)(ii) (due date). In the absence of a timely waiver, the Answer is ordinarily due within 21 days after
service of the summons and complaint. See Fed. R. Civ. P. 12(a)(1)(A)(i). In all instances, the party requesting
a stay should do so as soon as practicable.




ADR-20 (09/16)                NOTICE TO PARTIES: ADA DISABILITY ACCESS LITIGATION                          Page 2 of 3
       Case
    If an      2:16-cv-07642-ODW-JPR
          Application                         Document
                       for Stay and Early Mediation         17any opposition
                                                     is filed,      Filed 01/25/17
                                                                               must bePage    3 of 3seven
                                                                                       filed within   Page(7)ID
                                                                                                              days of
                                                         #:56
service of the Application. In accordance with the Court’s Local Rules, the failure to file a timely opposition
will be treated as consent to the imposition of a stay and referral of the case to mediation. L.R. 7-12 (“The
failure to file any required document, or the failure to file it within the deadline, may be deemed consent to the
granting or denial of the motion . . . .”).

    Absent a compelling reason to forego any attempt to mediate the dispute between the parties, the Court will
generally grant the Application for Stay. If the Court grants the Application for Stay, it will enter an Order
Staying Action and Requiring Early Mediation.

                                    PROCEDURE AFTER A STAY IS IMPOSED

    Within fourteen (14) days of the date of the Order Staying Action and Requiring Early Mediation, Plaintiff
must file with the Court and serve on Defendant a statement that includes: 1) a list of specific conditions that he
or she believes violate the ADA; and 2) an itemized list of damages and, for each item, the amount sought.

    If Defendant remedies the violation(s) identified by Plaintiff, or if Defendant asserts that no violation exists,
the Defendant will be required to provide evidence showing the correction or absence of the alleged
violation(s). Defendants with Certified Access Specialists (“CASp”) inspection reports may use those reports to
rebut Plaintiff’s allegations and could be entitled to other protections if Plaintiff has asserted claims under
California law. Information about CASp inspections is available from the State of California Department of
General Services website. See http://www.dgs.ca.gov/dsa/Programs/programCert/casp.aspx (last accessed
August 16, 2016).

                    VOLUNTARY ACTION TO REMEDY ADA ACCESS VIOLATIONS

     A plaintiff’s federal claims may become moot if a defendant voluntarily remedies conditions alleged to be
in violation of the ADA and/or ADAAG. In such a case, a defendant who voluntarily remedies all ADA and
ADAAG violations without being ordered to do so may obtain dismissal of the claims. Moreover, in some
instances, such voluntary action by a defendant may negate a plaintiff’s entitlement to attorney fees. See
Buckhannon Bd. & Care Home, Inc. v. W. Virginia Dep’t of Health & Human Res., 532 U.S. 598, 605-06 (2001)
(superseded by statute on other grounds).




ADR-20 (09/16)                 NOTICE TO PARTIES: ADA DISABILITY ACCESS LITIGATION                           Page 3 of 3
